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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

KINSALE INSURANCE COMPANY,      )
                                )
     Plaintiff,                 )            CIVIL ACTION FILE NO:
                                )            1:21-cv-03214-LMM
v.                              )
                                )            DISPOSITIVE MOTION
VENETIAN HILLS APARTMENTS,      )
LLC, JOHN MAUGHAN, and MARIE )
HUGHES, as Authorized           )
Administrator for the Estate of )
GEORGE HUGHES,                  )

      Defendants.

     KINSALE INSURANCE COMPANY’S MOTION FOR FINAL
                  SUMMARY JUDGMENT

     KINSALE INSURANCE COMPANY (“Kinsale”), pursuant to Fed.

R. Civ. P. 56 and LR 56, NDGa., moves the Court for summary judgment on

Count I and Count III of Kinsale’s complaint. (Dkt. No. 1)

      There is no genuine issue of material fact Kinsale is entitled to

summary judgment on these bases, and Kinsale accordingly requests the

Court enter judgment in its favor as a matter of law.

     In support of this motion, Kinsale relies on the following documents

filed contemporaneously with this motion:
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Exhibit A Kinsale’s Brief In Support of its Motion for Final Summary

Exhibit B   Kinsale’s Statement of Undisputed Material Facts in
            Support of its Motion For Final Summary Judgment

                                  Respectfully submitted,

                                  /s/ ANDRES CORDOVA
                                  Andres Cordova
                                  Florida Bar No. 0118247
                                  andres.cordova@clydeco.us
                                  Admitted Pro Hac Vice

                                  CLYDE & CO US LLP
                                  1221 Brickell Avenue, Suite 1600
                                  Miami, Florida 33131
                                  Telephone: (305) 446-2646
                                  Fax: (305) 441-2374
                                  Counsel for Plaintiff

                                  /s/ ERIC P. BENEDICT
                                  Eric P. Benedict
                                  Georgia Bar No. 890708
                                  Eric.Benedict@clydeco.us
                                  Local Counsel

                                  CLYDE & CO US LLP
                                  271 17th Street NW, Suite 1720
                                  Atlanta, Georgia 30363
                                  Telephone: (404) 410-3178
                                  Counsel for Plaintiff




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       LOCAL RULE 7.1(D) CERTIFICATION OF COMPLIANCE

      I hereby certify that the foregoing complies with the font and point

selections approved by the Court in Local Rule 5.1(B). It is prepared in Book

Antiqua, 14-point font.

                                         /s/ANDRES CORDOVA
                                         ANDRES CORDOVA

                          CERTIFICATE OF SERVICE

      I CERTIFY that on October 11, 2023, this document was filed via the

CM/ECF system. I further certify I am unaware of any non-CM/ECF

participants.

                                         /s/ANDRES CORDOVA
                                         ANDRES CORDOVA




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